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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

MICHAEL A. CAMPBELL,      )
                          )
    Plaintiff,            )
                          )
vs.                       )                    Case No.: CIV-22-399-R
                          )
OKLAHOMA COUNTY DETENTION )
CENTER, et al.            )
                          )
    Defendants.           )
                SPECIAL APPEARANCE AND SPECIAL REPORT

      The Oklahoma County Detention Center (“OCDC”) specially appears before this

Court for the sole purpose of submitting a special report as referenced in Judge Shon

Irwin’s Order Requiring Service and Special Report filed October 28, 2022. In support of

this report, the Oklahoma County Detention Center states as follows:

           SUMMARY OF FACTUAL ALLEGATIONS IN THE COMPLAINT

      A.     Overview of the Parties to Litigation

      Offender Michael Campbell (“Plaintiff”) was an inmate at the OCDC from February

16, 2022 until May 28, 2022. The records show that Offender Campbell was transferred to

the Cleveland County Detention Center (“CCDC”) on May 28, 2022, and he remains at the

CCDC currently. Offender filed his original Complaint on May 16, 2022 while he was still

incarcerated at OCDC, and he filed his Amended Complaint while incarcerated at the

CCDC. Offender Davis listed the following seven parties as defendants in his Complaint:



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       1.      The Oklahoma County Criminal Justice Authority (“OCCJA”), both

officially and individually, which is a public trust created by the Board of County

Commissioners for Oklahoma County to manage and operate the OCDC. The OCCJA is

not an individual.

       2.      Turn Key Health, both officially and individually, which is a company who

operates the medical unit at OCDC by contract. Turn Key is not an individual.

       3.      Dr. Mark Winchester, both officially and individually, who is a medical

doctor employed by Turn Key.

       4.      Amanda Jackson, CMA, both officially and individually, who is an employee

of Turn Key.

       5.      Othello Capehart, CMA, both officially and individually, who is an employee

of Turn Key.

       6.      Mr. William Monday, both officially and individually, who was employed

by the OCDC as Assistant Jail Administrator.

       7.      Mr. Greg Williams, both officially and individually, who was employed by

the OCDC as Chief Executive Officer/Jail Administrator.

       B.      Offender Campbell’s Account of the Allegations

       In his Amended Complaint, Offender Campbell claims that Defendants failed to

provide him with adequate medical care in violation of the Eighth and Fourteenth

Amendments to the U.S. Constitution, as well as the Oklahoma Constitution Art. 2 §§ 7-9.

(Doc. 25, Am. Comp p. 6.) Specifically, Offender Campbell asserts that the Defendants


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were deliberately indifferent to his “excruciating pain” due to the “need for a total hip joint

replacement surgery”. (Id. at p. 7.) Offender Campbell makes further assertions against

Defendants Turn Key, Dr. Winchester, Amanda Jackson, CMA, and Othello Capehart,

CMA, for medical negligence as well. (Id. at pp. 7-8.) Specifically, Offender Campbell

asserts Dr. Winchester failed to prescribe him adequate medications for his pain. (Id. at p.

7.) Offender Campbell asserts Defendants were deliberately indifferent to his bed bug bites.

(Id. at p. 15.) Offender Campbell also asserts claims for “gross and culpable negligence”;

however, he references Lawson in support of his claim which is a criminal case discussing

criminal negligence from Virginia. (Id. at p. 24.) See Lawson v. Commw., 547 S.E.2d 513

(Va. 2001).

        C.    Factual Basis for Complaint as Recited by Offender Davis

        1.    Offender Campbell alleges that Dr. Winchester “refused” to provide him

with pain medication “not more potent than a common aspirin”. (Id. at p. 7.)

        2.    Offender Campbell alleges on April 1, 2022, he was in so much pain he could

not get out of bed when he received his morning medications. (Id. at p. 9.) The officer and

nurse “called for medical help” and Amanda Jackson, CMA arrived to evaluate him. (Id.)

Ms. Jackson examined Offender Campbell and took his blood pressure. (Id.) According to

Offender Campbell, Ms. Jackson stated she would return with a doctor but she never did.

(Id.)




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       3.     On April 26, 2022, Offender Campbell alleges he was in so much pain he

could not get out of bed, and a detention officer and Othello Capehart, CMA would not

enter the cell to give him medications. (Id. at p. 10.)

       4.     Offender Campbell alleges Defendants have a policy which will not allow

the detention officer or medical staff to enter the cell to give medications. (Id.)

       5.     Offender Campbell alleges on March 12, 2022, he made phone calls to

camera ops to report his “extreme severe pain”, but no medical staff came to see him. (Id.

at p.11.)

       6.     Offender Campbell alleges on March 31, 2022, he made phone calls to

camera ops to report extreme pain, but no medical staff came to see him. (Id.) On the same

day, he asserts he complained to the rover officer and the 13th Floor sergeant regarding his

pain, and they told him to make a sick call. (Id.) When the nurse came to pass medications,

Offender Campbell asserts that she “lied” when she stated she did not have medications for

him. (Id.)

       7.     Offender Campbell alleges he submitted numerous requests to staff and

medical grievances which relate to his “extreme pain” and request for total hip replacement

surgery. (Id. at p. 17-19.)

       8.     Offender Campbell alleges he was “refused” his pain medications on

February 27, 2022, March 31, 2022, and April 26, 2022. (Id. at p. 18-20.)

       9.     Offender Campbell alleges he had bed bugs and bed bug bites around the

beginning of March 2022, and he filed a medical grievance for such on May 6, 2022. (Id.

at pp. 15, 21.) Offender Campbell asserts he was seen by “Nurse Kyle” who ordered

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medication on May 6, 2022, but he had not received the medication when “Nurse Kyle”

followed up on May 20, 2022. (Id. at p. 21.)

                        FINDINGS OF THE INVESTIGATION

       On February 16, 2022, Offender Campbell was booked into the OCDC. Offender

Campbell was interviewed by Turn Key staff during his intake, and the intake records

reveal that he did not show signs of or report complaints which indicated an emergent

condition which would require immediate treatment. (Ex. 1, p. 1.) Turn Key staff noted

Offender Campbell’s ease of movement was “unremarkable”. (Ex. 1, p. 2.) As a result,

Offender Campbell was recommended for general population classification with no

specific medical referral. (Ex. 1, p. 3.) Offender Campbell listed Dr. Ali and the VA

Hospital as his primary physicians. (Ex. 1, p. 1.)

       On February 18, 2022, Offender Campbell complained of left hip pain due to

“bilateral hip disability” from his military service, and he reported he used a cane at home

for such. (Ex. 1, p. 4.) Offender Campbell was prescribed Acetaminophen 325 mg and

Ibuprofen 200 mg at two tablets each twice per day for seven days until he could be seen

by the doctor, and he was moved to the 13th floor for medical observation. (Ex. 1, p. 5.)

       Dr. Winchester examined Offender Campbell on February 23, 2022, and they

discussed his left hip pain as well as his request for a left total hip arthroplasty surgery.

(Ex. 1, p. 6-7.) Dr. Winchester determined that the surgery was not urgently necessary or

emergent in nature due to the chronic nature of Offender Campbell’s pain as well as the

heightened risk of infection following surgery when in the jail setting. (Ex. 2, p. 3-4.) Dr.
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Winchester recommended he utilize a second mattress for comfort and a cane to help him

ambulate. (Ex. 1, p. 6.) Dr. Winchester also prescribed Meloxicam 7.5 mg for pain and

inflammation, which Offender Campbell began receiving the following day. (Ex. 1, p. 8.)

Offender Campbell asserts he was “denied his pain medications” on February 27, 2022;

however, the Turn Key Medication Administration Records indicate that the “patient did

not come for med.” (Id.)

       On March 1, 2022, Offender Campbell was evaluated by Samantha Rumley, ARNP-

CNP at the chronic care clinic. On March 12, 2022 Offender Campbell alleges he called

the camera ops complaining of extreme pain, but medical did not come. Records show that

Offender Campbell was seen the following day on March 13, 2022 by Samantha Rumley,

ARNP-CNP. (Ex. 1, p. 9.) Offender Campbell asserts he submitted several sick call

requests, requests to staff, and medical grievances between March 13th and March 31st

regarding his subjective pain. (Doc. 25, Am. Comp p. 17.) Offender Campbell asserts he

called camera ops for emergency medical help on March 31, 2022, and he spoke with the

13th floor staff sergeant about his complaints of pain; however, he does not assert there was

any change in his condition or complaints throughout this time. (Id.)

       On April 1, 2022, Offender Campbell alleges he was “bedridden with pain” and

Amanda Jackson, CMA came to his cell and examined him. (Doc. 25, Am. Comp p. 19.)

Although Offender Campbell asserts he was told by Ms. Jackson that she would

immediately get a doctor, there is no such documentation to confirm this allegation.

Offender Campbell submitted several other requests to staff and medical grievances from


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April 6, 2022 to April 13, 2022 regarding his subjective pain. (Id.) Dr. Winchester

examined Offender Campbell on April 14, 2022 for a follow up on his continued pain, and

Dr. Winchester recommended he continue his current regimen with the addition of

Methocarbamol (Robaxin) 750 mg. (Ex. 1, pp. 10-11.)

       Offender Campbell alleges he submitted sick calls, requests to staff, and medical

grievances complaining of subjective pain on April 15th, 18th, 20th, and 26th. (Doc. 25, Am.

Comp p. 20.) On April 26, 2022, Offender Campbell alleges Othello Capehart, CMA and

an unknown detention officer would not enter his cell to give him medications. (Id. at p.

10, 20.) The records indicate CMA Capehart documented that Offender Campbell “did not

come for med” when he attempted to pass out medications that day. (Ex. 1, p. 12.) The

records also reveal that CMA Capehart gave Offender Campbell his medications without

incident the following day which insinuates CMA Capehart did not have an improper

motive the day prior. (Ex. 1, p. 13.) Offender Campbell alleges he submitted additional

medical grievances on May 2nd, 3rd and May 6th regarding his subjective pain. (Doc. 25,

Am. Comp pp. 20-21.) Once again, Offender Campbell did not assert any changes in his

condition which would necessitate immediate medical treatment, but rather, he consistently

complained of pain which was already being treated by Dr. Winchester.

       Offender Campbell alleges he had bed bugs and bed bug bites around the beginning

of March 2022, and he filed a medical grievance for such on May 6, 2022. (Id. at pp. 15,

21.) Offender Campbell asserts he was seen by “Nurse Kyle” who ordered medication on

May 6, 2022, but he had not received the medication when “Nurse Kyle” followed up on


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May 20, 2022. (Id. at p. 21.) The records show that Offender Campbell received

Diphenhydramine (Benadryl) 25 mg and Hydrocortisone Cream 1% that same day. (Ex. 1,

p. 14.)

          Throughout the Amended Complaint, Offender Campbell alleges he was in need of

a left total hip replacement; however, he admitted he walked out of his most recent doctor’s

appointment to hire a different doctor for a second opinion. (Doc. 25, Am. Comp p. 21.)

Upon review of Offender Campbell’s medical records from Dr. Ali and the VA Hospital,

Offender Campbell was seen for an orthopedic consultation on January 26, 2022. (Ex. 3,

p. 6.) Offender Campbell and Charlene Chapman, APRN-BC (under the supervision of Dr.

Agrawal) discussed the option for a left total hip arthroplasty, and Offender Campbell

expressed that he wanted to proceed with the procedure. (Ex. 3, p. 8.) Offender Campbell

was referred back to his primary care physician, Dr. Ali, for medical clearance to proceed

with surgery. (Ex. 3, p. 9.) Offender Campbell saw Dr. Ali on February 2, 2022, and the

records indicate Offender Campbell walked out of the visit before Dr. Ali could even

perform a physical examination. (Ex. 3, pp. 1-2.) Dr. Ali requested a urine drug screen in

order to prescribe appropriate medications, as Offender Campbell’s prior urine drug screen

was abnormal. (Ex. 3, p. 4.) Dr. Ali noted Offender Campbell “was so focused on pain

meds, he didn’t want to answer other q[uestion]s”. (Ex. 3, p. 4.) As Dr. Ali tried to explain

that the medications are a safety issue, Offender Campbell left the appointment. (Ex. 3, p.

5.) Ultimately, Offender Campbell’s left hip replacement surgery was never scheduled due

to his own actions of walking out of the appointment with Dr. Ali.


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       As of February 2, 2022, fourteen days prior to his incarceration at OCDC, Offender

Campbell’s active medications were Amlodipine 5mg, Cyclobenzaprine 10 mg, and

Lisinopril 20 mg. (Ex. 3, p. 3.) Cyclobenzaprine is a muscle relaxant in the same drug class

as Methocarbamol. Thus, at the time Offender Campbell filed the original Complaint on

May 16, 2022, he was prescribed the same class of medication that he was taking prior to

his incarceration.

       The investigation of Offender Campbell’s Amended Complaint reveals that he was

diagnosed with left hip arthritis at least eight years prior to his incarceration, and his

condition continued throughout his incarceration at OCDC. (Ex. 3, p. 7.) Offender

Campbell was prescribed appropriate medications for his condition which were within the

standard of care. Offender Campbell submitted numerous sick calls, requests to staff,

medical grievances, and emergency phone calls to camera ops for subjective complaints of

pain due to the same medical condition, left hip arthritis, which was already being treated

by Dr. Winchester. If an emergent medical situation was observed by OCDC staff, such

situation would be documented by a duty officer report. (Ex. 4, p. 2.) A search of duty

officer reports reveals that there were no duty officer reports involving Offender Campbell

within this his incarceration. (Ex. 5, p. 1.) With regard to Offender Campbell’s allegations

related to bed bugs, he was seen by medical personnel the same day he submitted a

grievance for such. Although Offender Campbell did not receive medication until May 20,

2022, he received appropriate medications which were also within the standard of care.




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                EXHAUSTION OF ADMINISTRATIVE REMEDIES

       Although Offender Campbell submitted numerous grievances as referenced above,

none of the grievances were appealed to the extent that is required by the Prison Litigation

Reform Act, 42 U.S.C. § 1997e. Regardless, Offender Campbell was no longer

incarcerated at the OCDC at the time he filed his Amended Complaint.

                       POTENTIAL REMEDIAL MEASURES

       In considering whether any remedial measures or actions can or should be taken by

the OCDC in response to Offender Campbell’s Amended Complaint, the record reveals

that there are no actions which can or should be undertaken by OCDC, the Defendants, or

any staff of the OCDC, nor any action which should be taken for Offender Campbell.

Offender Campbell is no longer incarcerated at the OCDC, and he has not been incarcerated

at the OCDC since May 28, 2022.

       There is no action to be taken by the OCDC or Turn Key, as the investigation reveals

that the policies and procedures of the OCDC are sufficient to ensure that inmates receive

appropriate and necessary medical treatment. Additionally, there is no evidence supporting

any of the allegations asserted by Offender Campbell that he was denied proper medical

care. The actions of the Defendants and Turn Key medical personnel were reasonable,

proper, and lawful. Accordingly, there is no action that should be taken by the OCDC or

these Defendants to resolve the subject matter of Offender Campbell’s Amended

Complaint.



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                          PRIOR RELATED COMPLAINTS

       A diligent review of court records indicates that there are no other prior related

complaints pending in this Court or any state court that should be considered together with

this Amended Complaint.

                          SUMMARY AND CONCLUSION

       In reviewing the subject matter and allegations contained in Offender Campbell’s

Amended Complaint on file herein, the undersigned believes Offender Campbell’s claims

are without merit and no actions should be taken by the Defendants, the Oklahoma County

Detention Center, or its personnel at this time. Based upon the investigation and records,

the OCDC staff and medical personnel acted reasonably under the circumstances as known

or observed by them. There is no evidence of wrongdoing by Defendants or OCDC staff.

Thus, Offender Campbell’s allegations are without factual support. The undersigned is also

not aware of any judicial or administrative findings of any constitutional violations in

conduct or policies resulting from complaints similar to those alleged in Offender

Campbell’s Amended Complaint. Although Offender Campbell also asserted allegations

of “Gross and Culpable Negligence”, no such cause of action exists before this Court under

the circumstances.

       The findings and determinations herein are based upon the undersigned’s

understanding and interpretation of Offender Campbell’s Amended Complaint and review

of the subject matter, court records, jail records, and information obtained by and from



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other OCDC and Turn Key personnel. Based upon this information and record, Plaintiff

Michael Campbell’s allegations and claims are without factual support.




                                          Respectfully Submitted,



                                          /s/ Raegan Sifferman____________________
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                                          Center specially to submit the Special Report



                             CERTIFICATE OF SERVICE

       I hereby certify that on March 6, 2023, I electronically transmitted this document to
the Clerk of the Court using the ECF System for filing and transmittal of a Notice of
Electronic Filing to parties registered via the ECF system, and a true and correct copy of
this document was sent via U.S. Mail, postage prepaid, to the following who is not a
registered participant of the ECF system:

Michael Campbell
Inmate #99507509
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Pro Se Plaintiff


                                          /s/ Raegan Sifferman
                                          Raegan D. Sifferman

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